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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

SCARLETH SAMARA, ET AL.                                  CIVIL ACTION

VERSUS                                                   NO. 19-09330

IDT TELECOM, INC.                                        SECTION "B"(4)

                                  ORDER

    Considering the “Agreed Stipulation of Dismissal and Consent

to Arbitration” (Rec. Doc. 14),

    IT IS HERBY ORDERED, ADJUDGED, AND DECREED that plaintiff

Scarleth Samara’s claims against defendant IDT Telecom, Inc. are

DISMISSED WITHOUT PREJUDICE.

    New Orleans, Louisiana this 20th day of August, 2019



                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE
